Case 5:12-cv-04759-PSG Document2 Filed 09/12/12 Pagelof1

AO 440 (Rev. 12/09) Summons in a Civil Action

= UNITED STATES DISTRICT COURT

for the

Northern District of California

DAVID TRINDADE, individually and on behalf of all
others similarly situated,

Plaintiff

¥.

REACH MEDIA GROUP, LLC, a Delaware limited
liability company,

Defendant

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SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) REACH MEDIA GROUP, LLC, a Delaware limited liability company, $715
Northside Parkway, Building 100, Suite 300, Atlanta, Georgia 30327.

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A Spit has been filed against you.

Within 21 days after seryice of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a Unga iates agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — ya t’serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules oe ocedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: Sean Reis, Edelson McGuire LLP, 20021 Tomas Street, Suite 300, Rancho Santa

Margarita, CA 92688

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
‘You also must file your answer or motion with the court.

CLERK OF COURT

Date: SEP 1229p Gordana Macic

Signature of Clerk or Deputy Clerk

